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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION

 CHERYL RAFFERTY, on behalf of
 herself and all others similarly situated

         Plaintiff,

 v.                                                                Case No: 5:17-cv-426-Oc-PGBPRL

 RETRIEVAL-MASTERS CREDITORS
 BUREAU, INC.

         Defendant.


                               REPORT AND RECOMMENDATION1
         Defendant in this Fair Debt Collection Practice action has filed a motion to tax costs after

 prevailing on summary judgment. (Doc. 130). Plaintiff has responded challenging all of

 Defendant’s costs. (Doc. 131). Upon referral from the district court and after review, Defendant’s

 motion is due to be granted in the amount set forth below.

 I.      BACKGROUND

         Plaintiff brought this action on behalf of herself and similarly situated persons alleging

 Defendant’s debt-collection violated the FDCPA and seeking statutory damages and other relief.

 Plaintiff also moved to certify a class, and the parties eventually filed cross motions for summary

 judgment. (Doc. 98, 112, 113). Defendant’s motion was ultimately granted by the district court

 and judgment was entered in favor of Defendant. (Doc. 128, 129). Defendant now moves to tax




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            Within 14 days after being served with a copy of the recommended disposition, a party may file
 written objections to the Report and Recommendation’s factual findings and legal conclusions. See Fed.
 R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); Local Rule 6.02. A party’s failure to file written objections
 waives that party’s right to challenge on appeal any unobjected-to factual finding or legal conclusion the
 district judge adopts from the Report and Recommendation. See 11th Cir. R. 3-1.
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 costs for taking Plaintiff’s deposition and for its pro hac vice fee under 28 U.S.C. § 1920. (Doc.

 130).

 II.     LEGAL STANDARD

         Federal Rule of Civil Procedure 54(d) provides that “[u]nless a federal statute, these rules,

 or a court order provides otherwise, costs—other than attorney=s fees—should be allowed to the

 prevailing party.” Title 28 U.S.C. § 1920 defines the costs taxable under Rule 54(d). Crawford

 Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987). Section 1920 authorizes the taxing of:

         (1) Fees of the clerk and marshal;
         (2) Fees for printed or electronically recorded transcripts necessarily obtained for use in
             the case;
         (3) Fees and disbursements for printing and witnesses;
         (4) Fees for exemplification and the costs of making copies of any materials where the
             copies are necessarily obtained for use in the case;
         (5) Docket fees under section 1923 of this title;
         (6) Compensation of court appointed experts, compensation of interpreters, and salaries,
             fees, expenses, and costs of special interpretation services under section 1828 of this
             title.

 28 U.S.C. § 1920.

         The party seeking an award of costs bears the initial burden of submitting a request that

 enables a court to determine what costs were incurred by the party and in what amounts. Loranger

 v. Stierheim, 10 F.3d 776, 784 (11th Cir. 1994). Once this showing is made, it is the losing party

 that bears the burden to demonstrate that the costs are not taxable. Ass’n for Disabled Americans,

 Inc. v. Integra Resort Mgmt., Inc., 385 F. Supp. 2d 1272, 1288 (M.D. Fla. 2005). The losing party

 can meet its burden by providing “some rationale under which the court should not allow costs.”

 Geisler v. FedEx Ground Packaging Sys., Inc., No. 3:12-cv-1189, 2017 WL 4404442, at *3 (M.D.

 Fla. Aug. 28, 2017). If the court wishes to deny costs specifically authorized by § 1920, it must

 have a “sound basis” for declining to tax the costs. See Chapman v. AI Transport, 229 F.3d 1012,

 1039 (11th Cir. 2000). However, “the word ‘should’ [in Rule 54] makes clear that the decision


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 whether to award costs ultimately lies within the sound discretion of the district court.” Marx v.

 Gen. Rev. Corp., 568 U.S. 371, 377 (2013).

 III.   DISCUSSION

         A. Costs of Deposition Transcripts

        Defendant seeks its costs for taking the deposition transcript of Plaintiff, Cheryl Rafferty.

 Defendant has submitted an invoice for the deposition in the amount of $825.95. (Doc. 130-3).

 The invoice includes: $582.95 for the transcript; $165.00 for the court-reporter’s attendance;

 $15.50 for exhibits; $46.00 for a “litigation package”; and $16.50 for shipping and handling. (Id.).

        Costs of deposition transcripts “necessarily obtained for use in the case” are taxable under

 28 U.S.C. § 1920(2). EEOC v. W & O, Inc., 213 F.3d 600, 620 (11th Cir. 2000). Plaintiff’s

 deposition was cited by Defendant in its successful motion for summary judgment and attached to

 the motion. See (Doc. 113, pp. 6–8). See also Watson v. Lake Cty., 492 F. App’x 991, 997 (11th

 Cir. 2012) (“[U]se of a deposition at trial or in a summary judgment motion tends to show that the

 deposition was necessarily obtained . . . .”).

        Plaintiff objects that her deposition was not necessary since she was making only a generic

 allegation that Defendant’s debt-collection letter would have confused the “least sophisticated

 consumer,” an objective standard. (Doc. 131). Even if Plaintiff’s narrow view of the principal issue

 was correct, though, Plaintiff’s deposition was also relevant to the issue of whether Plaintiff’s debt

 was “consumer debt” as well as whether she was a proper class representative, among other

 disputed issues. See, e.g., W & O, 213 F.3d at 620–21 (explaining that depositions are taxable if

 “related to an issue which was present in the case at the time the deposition was taken”).

        As to the court reporter’s attendance fee, this fee is generally recoverable, and Plaintiff has

 not explained why it would not be recoverable here. See George v. Fla. Dep’t Corr., No. 07-80019-



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 civ, 2008 WL 2571348, at *5 (S.D. Fla. May 23, 2008). In addition, while there is some split of

 authority on the shipping and handling costs, it appears here that the fee was a necessary cost of

 obtaining the transcript—and Plaintiff has not shown otherwise. Id. at *6.

         The exhibits, however, appear to not be recoverable under Eleventh Circuit precedent. See

 W &O, 213 F.3d at 623 (noting the split of authority and declining to award costs for exhibits).

 Also, Defendant has not explained the necessity of the “litigation package” nor pointed to a

 provision of § 1920 that would permit the taxing of the litigation package.

         Accordingly, Defendant is entitled to $764.45 in costs for Plaintiff’s deposition after

 deducting the cost of the exhibit and litigation package: $825.95–$46.00–$15.50=$764.45.

          B. Pro Hac Vice Fees

         Finally, Defendant seeks to recover the pro hac vice fees paid by its out-of-state attorney

 Carlos A. Ortiz, Esq. While Defendant relies on Disabled Patriots of America, Inc. v. HT West

 End, LLC, 2007 WL 789014, at *5 (N.D. Ga. March 14, 2007), where the court allowed the

 recovery of pro hac vice fees for one of two out-of-state attorneys, the greater weight of authority

 in this district appears to find pro hac vice fees are not taxable as the fee is an expense of counsel

 not the client. See, e.g., Lane v. Accredited Collection Agency, Inc., No. 6:13-cv-530, 2014 WL

 1685677, at *10 (M.D. Fla. April 28, 2014); Fulwood v. Capital One Auto Fin., Inc., No. 8:09-cv-

 378, 2011 WL 2148415, at *1 (M.D. Fla. May 13, 2011). In addition, the Court notes that

 Defendant had competent local counsel at all times during this action. Thus, Defendant has not

 shown it is entitled to tax the cost of its attorney’s pro hac vice fee.




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 IV.    RECOMMENDATION

        Accordingly, it is RECOMMENDED that Defendant’s motion to tax costs be granted in

 the amount of $764.45. (Doc. 130).

        DONE and ENTERED in Ocala, Florida on April 1, 2019.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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